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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                Chief Judge Philip A. Brimmer

Criminal Action No.: 21-cr-00148-PAB                    Date: February 17, 2023
Courtroom Deputy: Sabrina Grimm                         Court Reporter: Janet Coppock
Probation Officer: Josh Roth

 Parties:                                                   Counsel:

 UNITED STATES OF AMERICA,                                  Brandon Burkart
                                                            Scott Armstrong

      Plaintiff,

 v.

 2. RON THROGMARTIN                                         Steven Sadow

      Defendant.


                                   COURTROOM MINUTES


SENTENCING HEARING

11:38 a.m.         Court in session.

Appearances of counsel. Defendant present on bond.

Discussion and argument regarding objections to the presentence report, pending
motions, and sentencing recommendation.

Statement by the Court regarding defendant's offense level, criminal history level, and
sentencing guidelines range.

Court states its findings of fact and conclusions of law.

ORDERED: Throgmartin’s Motion for Downward Variance [132] is DENIED.
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ORDERED: Defendant shall be imprisoned for 72 months as to Counts 1, 2, 3, 4,
         5, 6, and 7 to run concurrently with each other. Upon release from
         imprisonment, defendant shall be placed on supervised release for a
         term of 2 years as to Counts 1, 2, 3, 4, 5, 6, and 7 to run concurrently
         with each other.

ORDERED: Conditions of Supervised Release, as stated on record.

ORDERED: Defendant shall pay a $700.00 Special Assessment fee, to be paid
         immediately. No fine is imposed.

ORDERED: Restitution shall be paid to the victims in accordance with the
         Schedule of Payments sheet in the Judgment

ORDERED: Defendant shall forfeit any interest in property, as stated on record,
         to the United States.

Defendant advised of right to appeal.

ORDERED: Defendant is directed to surrender to the institution designated by
         the Bureau of Prisons on May 1, 2023.

Court recommends that the Bureau of Prisons place the defendant in FPC Montgomery
or a facility close to Atlanta, GA that is appropriate to his security classification. The
Court also recommends the defendant be permitted to participate in the RDAP program.

ORDERED: Defendant’s bond is continued.

12:30 p.m.   Court in recess.

Hearing concluded.
Total time in court: 00:52




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